Case 3:16-md-02738-MAS-RLS Document 9886-1 Filed 05/29/19 Page 1 of 1 PageID: 60339




                             CERTIFICATE OF SERVICE

   I, Michelle A. Parfitt, hereby certify that I caused a copy of the foregoing
   Plaintiffs’ Steering Committee’s Memorandum in Response and Opposition to
   J&J’s Conditional Motion to Exclude Certain Plaintiffs’ Experts’ Opinions for
   Lack of Qualifications to be filed electronically via the court’s electronic filing
   system the 29th day of May, 2019. Those attorneys who are registered with the
   court’s electronic filing system may access these filings through the court’s
   system, and notice of these filings will be sent to these parties by operation of the
   court’s electronic filing system.

   Dated:       May 29, 2019                     /s/ Michelle A. Parfitt
                                                 Michelle A. Parfitt
